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                         IN THE UNITED STATES DISTRICT COURT                         FTTpn
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UNITED STATES OF AMERICA,                                                           *;:.••'•."'   -: '.'A




                                                       CRIMINAL ACTION NO. 4:13cr43-8


ANTOINE MAURICE RICHARDSON,

                             Defendant.




                                      MEMORANDUM ORDER

       This matter is before the Court on the Government's unopposed Motion for Inquiry into Potential
Conflict ofInterest filed on March 26,2014. ECF No. 367. The Court held ahearing on the Motion on
April 8,2014. Defendant Antoine Richardson, his appointed Defense Counsel Fernando Groene, and
counsel for the United States were present.

       Defendant was named in a Second Superseding Indictment filed on October 15,2013, and is
charged with one count of Conspiracy to Distribute and Possess With Intent to Distribute Cocaine,
Cocaine Base, and Heroin, 21 U.S.C. §846; two counts ofDistribution and Possession with Intent to
Distribute Heroin and Cocaine Base, 21 U.S.C. §841(a)(1); and three counts ofUse ofaCommunication
Facility to Facilitate aFelony Drug Offense, 21 U.S.C. §843(b). On October 21,2013, the Court granted
 Defendant's first appointed counsel's joint motion to withdraw because of aconflict of interest. On
October 23, 2013, the Court appointed Gregory Matthews as Defendant's new defense counsel.
 However, on February 3, 2014 the Court granted Mr. Matthews and Defendant's motions to appoint new
 counsel after finding that they had become incapable ofcommunicating with one another to conduct an
 adequate defense. ECF No. 330. In the same Order, the Court appointed Mr. Groene as Defendant's

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new counsel.

       On March 26,2014, the Government filed the instant Motion. It informed the Court that Mr.
Groene also represents an individual who pleaded guilty and who has an adverse relationship with
Defendant. Specifically, that individual has agreed to cooperate with the Government and has provided
information adverse to Defendant. Therefore, it asserted that Mr. Groene clearly has an actual conflict of
interest and should be disqualified from representing Defendant. At the hearing, the Government
asserted that it was likely to call the individual as awitness against Defendant and that it had only become
recently aware of this possibility. Mr. Groene agreed that he was subject to aconflict of interest. The
Defendant stated that he had initially considered waiving the conflict, but thought after further
consideration that it might not be in his best interest. The Court informed him that even ifDefendant
wished to, the Court could not accept his waiver because Mr. Groene would potentially be required to
 vigorously cross-examine his other client in order to effectively represent Defendant.
        Based on the foregoing information, the Court finds that Mr. Groene may no longer represent
 Defendant because to do so would be aconflict of interest. Burket v. Angelone, 208 F.3d 172 (4th Cir.
 2000). Accordingly, the Government's request to terminate Mr. Groene's representation in its Motion
 for Inquiry is GRANTED. Further, Attorney James Broccoletti ofNorfolk, Virginia is hereby appointed
 as Defendant's new Defense Counsel. Attorney Groene shall coordinate with Attorney Broccoletti to
 provide him with all pleadings, documents, and any other information he has received during his
 representation of Defendant.
         The Clerk is DIRECTED to send a copy ofthis Order to all parties, including Attorney Groene
 and Attorney Broccoletti.

         IT IS SO ORDERED.



  Norfolk, Virginia                                                Raymond A. fackson
  April /) ,2014                                                   United atates District Judge
